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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

CHARLOTTE LOQUASTO, et al.                    §
                                              §
VS.                                           §
                                              §
FLUOR CORPORATION, INC.,                      §                C.A. NO. 3:19-CV-01455-B
FLUOR ENTERPRISES, INC.,                      §                (Consolidated with
FLUOR GOVERNMENT GROUP, INC.,                 §                C.A. No. 3:19-cv-01624-B)
FLUOR INTERCONTINENTAL, INC. and              §
ALLIANCE PROJECT SERVICES, INC.               §            JURY TRIAL DEMANDED




      Plaintiffs’ Response to Defendants’
      Rule 12(b)(1) Motion to Dismiss and
         Summary-Judgment Motion

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         The Plaintiffs1 file this response to the Defendants’ Rule 12(b)(1) motion to dismiss for

lack of subject-matter jurisdiction under the political-question doctrine and, alternatively, Rule

56 motion for summary judgment based on combatant-activities preemption under 28 U.S.C. §

2680(j).2

         This Court should deny the Defendants’ Rule 12(b)(1) motion to dismiss under the

political-question doctrine because this lawsuit is about the Defendants’ failure to properly

supervise Ahmad Nayeb at the time of the explosion. This lawsuit does not require this Court or

the jury to determine whether the military was negligent because the military—at most—created

the condition that allowed the Defendants’ negligence to cause the injury, which is insufficient to

support causation under Texas law. So there is not a nonjusticiable political question.

         This Court should deny the Defendants’ Rule 56 motion for summary judgment based on

combatant-activities preemption under 28 U.S.C. § 2680(j) because:

                 The Fifth Circuit has never recognized that combatant-activities
                  preemption under 28 U.S.C. § 2680(j) applies to claims against
                  government contractors;

                 Combatant-activities preemption under 28 U.S.C. § 2680(j) is an
                  affirmative defense that the Defendants have not pled;




1
  The “Plaintiffs” are Plaintiffs Charlotte Loquasto, Michael Iubelt, Shelby Iubelt, individually, on behalf of the
estate of PFC Tyler Iubelt, and as next friend of V.I., a minor, Julianne Perry, individually, on behalf of the estate of
Staff Sgt. John Perry, deceased, and as next friend of L.P. and G.P., minors, Kathleen Perry, Stewart Perry, Marissa
Brown, individually and on behalf of the estate of Sgt. First Class Allan E. Brown, deceased, Gail Provost,
individually and on behalf of the estate of Peter Provost, Meghan Hollingsworth, Sarah Peterson, Brian Provost,
Spencer Provost, Louis Provost, Gertrude Provost, Katrina Reeves, individually and on behalf of the estate of Col.
Jarrold Reeves (Ret.), deceased, and as next friend of J.R., a minor, Summer Dunn, Hannah Mason, Mallory Reeves,
Charlotte Reeves, Chris Colovita, Samuel Gabara, Lakeia Stokes, Maggie Bilyeu, India Sellers, Addie Ford, Robert
Healy and Haylee Rodriguez.
2
 Doc. 45 (filed Mar. 23, 2020). The motion was filed by Defendants Fluor Corporation, Inc.; Fluor Enterprises,
Inc.; and Fluor Government Group International, Inc. (collectively, “Fluor”). Defendant Alliance Project Services,
Inc. (“APS”) joined Fluor’s motion. Doc. 47 (filed Mar. 23, 2020). Fluor and APS will be referred to collectively
as the “Defendants.”



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                      Even if combatant-activities preemption under 28 U.S.C. § 2680(j)
                       applies to claims against government contractors, it should be limited
                       to procurement contracts and not apply to service contracts like the
                       one here;

                      The Defendants have not conclusively established that the Plaintiffs’
                       claims arise out of “combatant activities” “during time of war”; and

                      The Plaintiffs are entitled to discovery on the merits before they are
                       required to respond to the Defendants’ summary-judgment motion.

                                               I.      Background

           On Veterans Day 2016, Ahmad Nayeb detonated a bomb at the Bagram Air Base in

Afghanistan.3 Five men were killed and 17 soldiers were badly injured. Nayeb was an employee

of APS and was primarily supervised and managed by Fluor.4 The Defendants failed to properly

supervise Nayeb, which allowed him to build and explode the bomb.5

A.         APS’ employee Nayeb—who was being supervised by Fluor—detonated a suicide
           bomb after sneaking away from their supervision at the end of his work shift.

           On the morning of Saturday, November 12, 2016, more than 200 personnel residing at the

base were gathering for a Veterans Day 5k race set to begin at 6:15 a.m.6 The meeting point for

the race was an area called the “Disney Clamshell.”7 Also on the base was Nayeb.




3
 Unless otherwise specified, the statements in this Background section come from the Plaintiffs’ Original Petition.
Doc. 1-3 at 7-10, 27-29. The page numbers for documents filed on the Court’s ECF system refer to the ECF page
numbers at the top of the page, not the page numbers on the original document.
4
  Bryan Wilson Depo. at 31, 63, attached as Ex. A; Ex. 7 to Ex. A at 8. The Defendants primarily base their motion
to dismiss on a declaration from Bryan Wilson, Fluor’s Security Director, who was deposed. Doc 45-1. APS’
owner Tod Nickles was also deposed. Tod Nickles Deposition at 5, attached as Ex. B. APS was the Fluor
subcontractor that actually employed Nayeb. Ex. B at 8; Ex. B at 13 (Nayeb “was employed by APS by direction of
Fluor.”).
5
    Ex. A at 67.
6
    Ex. 7 to Ex. A at 1.
7
    Id.



                                                         2
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           Nayeb worked at Fluor’s HAZMAT work center within Fluor’s Non-Tactical Vehicle

Yard at the base.8 Bryan Wilson, Fluor’s Security Director, admitted that Nayeb was not

supposed to be on the base on the morning of November 12, 2016, after his shift ended.9 The

Defendants were required to ensure that Afghan nationals like Nayeb were physically escorted

off the base at the end of their work shifts.10

           Nayeb was supposed to have been escorted off the base by bus at 4:45 a.m. that morning

at the end of his shift. But that did not happen.11 On November 12, 2016, instead of being

escorted off the base by bus at the end of his shift, Nayeb walked—totally unsupervised by the

Defendants—toward the assembly point for the Veterans Day 5k race.12

           That morning, a group of soldiers had gathered at the Clamshell, intending to conduct a

combatives training class. Upon arrival, they saw that the 5k run would be taking place, as the

organizers were preparing for the event. The soldiers decided to hold their training at another

facility, so they left the Clamshell and began walking alongside Disney Drive towards the

alternate location.        Meanwhile, Fluor employees Jerrold Reeves and Peter Provost, both avid

runners, left their quarters and headed towards the Clamshell for the 5k run. They also traveled

alongside Disney Drive towards the Clamshell. It was still early in the morning and was dark.

           By all accounts, Nayeb intended to travel to the Clamshell and detonate his bomb among

the hundreds of people who would be gathering there later that morning for the race. Nayeb

attempted to hide between several concrete bunkers along the walkway. The soldiers, as well as



8
    Ex. 7 to Ex. A at 7.
9
    Ex. A at 42.
10
     Ex. B at 111.
11
     Ex. B at 18-19, 44.
12
     Id.

                                                     3
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Reeves and Provost, were approaching Nayeb from different directions. Unbeknownst to them,

they were converging on Nayeb. At some point, Nayeb realized that he would be caught and

would not reach his intended target. Reeves and Provost were closest to the bomber when

Nayeb jumped up, faced them, and detonated his bomb. Reeves and Provost sustained a direct

hit and likely died immediately. The soldiers, also within 15 feet of the bomber, took shrapnel

directly from the bomb and also from shrapnel ricocheting off of the concrete bunkers.

                    PFC Tyler Iubelt sustained extensive wounds and burns from the
                     bombing. Witnesses report that he survived the bombing but was
                     close to death. EMTs who arrived on the scene described difficulty
                     performing CPR on him because of the extent of burns to his body.

                    Staff Sgt. John Perry was struck with shrapnel in his eye, which
                     continued to his brain. He died on the scene.

                    Staff Sgt. Allan Brown sustained extensive shrapnel wounds and
                     burns. Witnesses tell of him directing EMTs to take care of other
                     soldiers and constantly encouraging his fellow soldiers, as he held his
                     intestines in his body with his hands. Sgt. Brown received care at
                     Bagram, then Germany, then at Walter Reed Hospital. After several
                     weeks, he finally succumbed to his injuries.13

Other soldiers sustained severe and life-altering injuries.

B.          The Defendants were required to supervise Nayeb while he was at work and make
            sure he left the base when his shift was over.

            Wilson admitted that it was Fluor’s responsibility to supervise Nayeb’s “day-to-day

work” on the base.14 Wilson admitted that “Nayeb’s work performance [was] supervised by

Fluor while he was employed at the Bagram Airfield nontactical vehicle yard.”15 Wilson also

admitted that under the LOGCAP contract, it was Fluor’s duty to “provide the necessary



13
     Ex. 7 to Ex. A at 5.
14
     Ex. A at 18; see also Ex. A at 60.
15
     Ex. A at 57.



                                                      4
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supervision for personnel required to perform this contract” and that Fluor was “responsible for

oversight of such personnel.”16

           Nayeb was an APS employee, but he performed work for Fluor and was supervised by

Fluor.17 So Nayeb “either had an APS or Fluor supervisor for his day-to-day work activity.”18

Wilson admitted that there was no one in the military supervising Nayeb on the base—instead,

supervising his work “was Fluor’s job.”19 While the United States military controlled the base as

a whole, “Fluor had supervision at the work area.”20

           APS handled scanning its employees in and out, keeping track of their hours work, and

paying them.21 But Fluor supervised the APS employees like Nayeb regarding their work.22 At

the time of the bombing, Nayeb “was under the direct accountability of the Fluor department

supervisor.”23

           Wilson admitted that under Flour’s contract with the military, it was “responsible to

provide transportation and supervision necessary for its employees to accomplish their work.”24

Wilson admitted that Fluor employees “served as escorts for local nationals who worked in the




16
     Ex. A at 61-62; Ex. 3 to Ex. A at 5.
17
     Ex. A at 31, 63.
18
     Ex. A at 31.
19
  Ex. A at 32; Ex. B at 107 (Nickles was “not aware of any military personnel supervising Nayeb while he was
doing his actual work”).
20
  Ex. B at 26; Ex. 7 to Ex. A at 8 (“Fluor is responsible for all of its employees, subcontractors, and subcontractor
employee actions”).
21
     Ex. B at 21.
22
     Ex. B at 25; Ex. B at 106 (“Nayeb’s work activities were supervised by Fluor”).
23
     Ex. B at 93.
24
     Ex. A at 76.



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nontactical vehicle yard.”25 Wilson also admitted that Fluor and APS employees “were

responsible for supervising the transport of local nationals from the entry control point to the

nontactical vehicle yard and from the nontactical vehicle yard back to the entry control point at

the shift change.”26 “Fluor was responsible for transporting Nayeb from the badging/clocking-in

station to the work area and back.”27 It was Fluor’s policy that “local national employees,

including Nayeb, were to be physically escorted from the work site by Fluor.”28

           Wilson admitted that Nayeb was “supposed to be immediately escorted off the base” after

he finished his work.29 Wilson also admitted that “Fluor and APS are supposed to make sure that

the escort happens.”30 In this lawsuit, the Plaintiffs have alleged that Nayeb signed out after his

shift ended, but that he was not “escorted off the base, as per policy.”31 Wilson admitted that he

could not dispute that and that it was “a strong theory.”32

           Wilson admitted that the military had put “escort policies in place” that Fluor was

supposed to adhere to for Afghan nationals like Nayeb.33 Nayeb was clocked in on November

11, 2016, but no records showed that he ever clocked out that day or on November 12, 2016, the

day of the explosion.34 Wilson admitted that an APS employee signed Nayeb out at the end of




25
     Ex. A at 78-79.
26
     Ex. A at 79.
27
     Ex. B at 111.
28
     Id.
29
     Ex. A at 42.
30
     Ex. A at 43.
31
     Ex. A at 44.
32
     Id.
33
     Ex. A at 34.
34
     Ex. B at 18-19.



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the shift that day and stated that “all local nationals” were accounted for before the bus left for

the base gate.35 At that point, Nayeb was supposed to “[g]et on a bus and leave the base.”36 The

rules required that “when you sign out, you leave.”37 Both Fluor and APS knew that was the

rule.38 Wilson admitted that Fluor and APS “enforce the rules.”39 But—as Wilson admitted—

Nayeb “did not exit the base.”40

           Nayeb exploded the bomb shortly after his work ended, when he should have been off the

base.41 The place where Nayeb exploded the bomb was “a little over a mile” from his work

location.42 Wilson admitted that Nayeb either took a bus or walked to the location where he

detonated the bomb.43

C.         The military determined that Fluor failed to comply with its contractual
           requirements to supervise Nayeb, which allowed him to construct and detonate the
           bomb.

           Wilson claimed that Fluor supervised Nayeb “in accordance with government regulations

and requirements.”44 Wilson admitted that the “U.S. military expects Fluor to follow the

contract.”45




35
     Ex. A at 34.
36
     Ex. A at 35.
37
     Ex. A at 37.
38
     Ex. A at 38.
39
     Id.
40
     Ex. A at 34.
41
     Ex. A at 32.
42
     Ex. A at 33.
43
     Id.
44
     Ex. A at 58.
45
     Ex. A at 40.



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           But Wilson admitted that the United States military determined that “it is indisputable

that Fluor did not comply with the key contractual requirements of the contract, namely in the

areas of supervision of local national labor and adherence to escort requirements.”46 Wilson also

admitted that the military found that “Fluor failed to ensure the local national employee was

properly escorted.”47 Wilson admitted that the military found that “the suicide bomber managed

to leave the work facility unescorted, which violated policy.”48 The military determined that

Fluor failed to “reasonably supervise” Nayeb at the nontactical vehicle yard, where he worked.49

           The military also determined that Fluor’s “lack of reasonable supervision facilitated

Nayeb’s ability to freely acquire most of the components necessary for the construction of the

suicide vest” and the “freedom of movement to complete its construction.”50 While Wilson

denied that, he could not provide any evidence on how “Nayeb acquired most of the components

necessary for the construction of the suicide vest.”51

           The military found that “Fluor’s systemic lack of reasonable supervision enabled Nayeb

to go undetected from 0045 until 0538 on 12 November, ’16, which coincides with the average

walking time of 53 minutes from the nontactical vehicle yard to the blast site.”52

           When asked whether Nayeb not being properly escorted off the base had anything “to do

with the U.S. Government”—as opposed to being a Fluor and APS issue only—Wilson admitted



46
     Ex. A at 23-24; Ex. 2 to Ex. A at 2.
47
     Ex. A at 25; Ex. 2 to Ex. A at 2.
48
     Ex. A at 26; Ex. 2 to Ex. A at 2.
49
   Ex. A at 63. The military found that Nayeb had been caught sleeping while he should have been working. Ex. A
at 68; Ex. 7 to Ex. A at 12.
50
     Ex. A at 67; Ex. 7 to Ex. A at 12.
51
     Ex. A at 68.
52
     Ex. A at 82; Ex. 7 to Ex. A at 15.



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that he could not “confirm or deny” that the U.S. Government had anything to do with that.53

Wilson admitted that he “cannot say” whether Nayeb not being properly escorted had anything

“to do with the United States Army or the Air Force.”54

      II.      Response to Rule 12(b)(1) Motion to Dismiss Under Political Question Doctrine

            This Court should deny the Defendants’ motion to dismiss the Plaintiffs’ claims under the

political-question doctrine because this lawsuit is about the Defendants’ failure to properly

supervise Nayeb at the time of the explosion. This lawsuit does not require this Court or the jury

to determine whether the military was negligent because the military—at most—created the

condition that allowed the Defendants’ negligence to cause the injury, which is insufficient to

support causation under Texas law. So there is not a nonjusticiable political question.

A.          Political-question doctrine.

            The political-question doctrine applies when a federal court otherwise has jurisdiction

over a case.55 The Supreme Court has repeatedly emphasized that, while federal courts are

courts of limited jurisdiction, they have a duty to exercise the jurisdiction they are given.56 So

federal courts “have no more right to decline the exercise of jurisdiction which is given, than to

usurp that which is not.”57 Federal courts, therefore, must carefully consider claims that the




53
     Ex. A at 37.
54
     Ex. A at 38.
55
     See, e.g., Spectrum Stores, Inc. v. Citgo Petroleum Corp., 632 F.3d 938, 948 (5th Cir. 2011).
56
  Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 821 (1976) (“federal courts have a
‘virtually unflagging obligation ... to exercise the jurisdiction given them’”); England v. Louisiana Bd. of Medical
Examiners, 375 U.S. 411, 415 (1964) (“‘When a federal court is properly appealed to in a case over which it has by
law jurisdiction, it is its duty to take such jurisdiction’”) (quoting Willcox v. Consolidated Gas Co., 212 U.S. 19, 40
(1909)).
57
     Cohens v. Virginia, 6 Wheat. 264, 404 (1821).



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political-question doctrine applies, lest they improperly fail to exercise jurisdiction over cases

properly before them.

           In deciding whether there is a political question, courts take “ the well-pled factual

allegations of the complaint as true, viewed in the light most favorable to plaintiff.”58

           In considering a Rule 12(b)(1) motion to dismiss based on the political-question doctrine,

a court may find a plausible set of facts by considering any of the following: (1) the complaint;

(2) the complaint, supplemented by undisputed facts evidenced in the record; or (3) the

complaint, supplemented by undisputed facts, plus the court’s resolution of disputed facts.59 A

court cannot dismiss a case based on the political-question doctrine if, “viewing the allegations

in the most favorable light,” the plaintiff “can prove any plausible set of facts that would permit

recovery against” the defendant without “compelling the court to answer a nonjusticiable

political question.”60

           The Supreme Court has set out six factors for courts to consider when determining

whether there is a nonjusticiable political question:

               1. “a textually demonstrable constitutional commitment of the issue to a
                  coordinate political department”;

               2. “a lack of judicially discoverable and manageable standards for
                  resolving it”;

               3. “the impossibility of deciding without an initial policy determination
                  of a kind clearly for nonjudicial discretion”;




58
     Kuwait Pearls Catering Co., WLL v. Kellogg Brown & Root Services, Inc., 853 F.3d 173, 178 (5th Cir. 2017).
59
     Id.; Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008).
60
     Kuwait Pearls, 853 F.3d at 178.



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                   4. “the impossibility of a court’s undertaking the independent resolution
                      without expressing lack of the respect due coordinate branches of
                      government”;

                   5. “an unusual need for unquestioning adherence to a political decision
                      already made”;

                   6. “or the potentiality of embarrassment from multifarious
                      pronouncements by various departments on one question.”61

“The inextricable presence of one or more of these factors will render the case nonjusticiable

under the Article III ‘case or controversy’ requirement.”62

            The Defendants argue that tort claims against government contractors in war zones are

barred by the political-question doctrine.63 But the Fifth Circuit has noted that many cases have

held that “tort claims against civilian contractors performing support services in a war zone do

not necessarily raise nonjusticiable political questions.”64

            The Fifth Circuit has held that while the Supreme Court’s “formulations provide useful

analytical guideposts in our analysis, ‘whether an issue presents a nonjusticiable political

question cannot be determined by a precise formula.’”65 By invoking the political-question

doctrine, a defendant is asking a federal court “to declare that the very design of our federal

government compels the Plaintiffs to seek redress from the political branches for [the

defendant’s] alleged fraudulent and negligent acts.”66 “This requires a ‘delicate exercise in




61
   Baker v. Carr, 369 U.S. 186, 217 (1962); Kuwait Pearls, 853 F.3d at 178–79. The Defendants rely only on the
first three factors and make no attempt to show that the final three factors apply. Doc. 45 at 33-34.
62
     Kuwait Pearls, 853 F.3d at 179 (cleaned up) (quoting Lane, 529 F.3d at 558).
63
     Doc. 45 at 37.
64
     Lane, 529 F.3d at 568.
65
     Id. at 558 (cleaned up) (quoting Saldano v. O’Connell, 322 F.3d 365, 368 (5th Cir. 2003)).
66
     Id. at 559.



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constitutional interpretation,’ an exercise that is not satisfied by simplistically plugging facts into

factors.”67

            Before a court can hold that a claim is barred by the political-question doctrine, it must

“find that all plausible sets of facts that could be proven would implicate particular authority

committed by the Constitution to Congress or the Executive.”68 Before it can dismiss a case

based on the political-question doctrine, the court “must satisfy itself that political question will

certainly and inextricably present itself.”69 The Fifth Circuit has held that the Supreme Court’s

six factors are “primarily concerned with direct challenges to actions taken by a coordinate

branch of the federal government.”70

            The Defendants claim that “a Military contractor suit will raise a political question if the

Military exercised direct, plenary control over the contractor’s conduct at issue.”71 Most of their

argument is based on this supposed “plenary control” rule.72 But the Fifth Circuit has never

adopted the “plenary control” rule—instead, the Defendants rely solely on caselaw from other

circuits for this supposed rule.73 The Fifth Circuit has expressly rejected the idea that the

political-question inquiry can be resolved by a single catchphrase. Instead, the Fifth Circuit has

emphasized that “whether suits against military contractors are barred by the political question




67
     Id. (quoting Carr, 369 U.S. at 211).
68
     Id. at 559-60.
69
     Id. at 565.
70
     Id. at 560.
71
     Doc. 45 at 37.
72
     Id. at 36-70.
73
     Id. at 37.



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doctrine is a fact-intensive question.”74 Courts must conduct a “discriminating inquiry into the

precise facts and posture of the particular case,” rather than “semantic cataloguing” of issues as

implicating “foreign policy” or “national security.”75

            The Defendants repeatedly argue that potential evidence regarding this case is

classified.76 But the Fifth Circuit has held that “the fact that a trial might require the use of

classified information” is not part of the political-question analysis.77 It emphasized that “federal

courts are capable of evaluating sensitive or privileged information in camera and providing

other needed protections.”78

B.          This Court should deny the Defendants’ Rule 12(b)(1) motion to dismiss under the
            political-question doctrine.

            This Court should deny the Defendants’ Rule 12(b)(1) motion to dismiss under the

political-question doctrine because this lawsuit does not require this Court or the jury to

determine whether the military was negligent. Instead, the military—at most—created the

condition that allowed the Defendants’ negligence to cause the injury, which is insufficient to

support causation under Texas law. So there is not a nonjusticiable political question.

            1.       Claims regarding the Defendants’ failure to supervise Nayeb—as required
                     by the military contract—do not implicate the political-question doctrine.

            The Defendants focus on the fact that the military provided security at the base and

determined who had access to the base.79 While that may be correct, that is separate from the




74
     McManaway v. KBR, Inc., 852 F.3d 444, 451 n.6 (5th Cir. 2017).
75
     Lane, 529 F.3d at 558 (quoting Carr, 369 U.S. at 216).
76
     Doc. 45 at 24, 29, 75, 84.
77
  Lane, 529 F.3d at 567-68 (“Distinguishable from political question concerns is the fact that a trial might require
the use of classified information.”).
78
     Id. at 568.
79
     Doc. 45.

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question of whether the Defendants failed to supervise Nayeb while he was at work and failed to

make sure that he left the base at the end of his shift. The Plaintiffs are not alleging that the

Defendants were negligent in hiring Nayeb or were negligent in allowing Nayeb onto the base.

Instead, the Plaintiffs focus their allegations on the Defendants’ negligence in performing their

contractually required duties to supervise Nayeb while he was at work and to make sure he left

the base at the end of his shift.

           The Fifth Circuit has emphasized that the political-question doctrine applies only if the

court determines “that all plausible sets of facts that could be proven” violate the political-

question doctrine.80 So the fact that some allegations could potentially raise issues barred by the

political-question doctrine does not mean that the entire case is dismissed. Instead, the court

should narrow the issues to those that would not violate the political-question doctrine.81

           The Defendants claim that three of the Supreme Court’s six political-question factors

apply:

                1.    “a textually demonstrable constitutional commitment of the issue to a
                     coordinate political department”;

                2. “a lack of judicially discoverable and manageable standards for
                   resolving it”; and

                3. “the impossibility of deciding without an initial policy determination
                   of a kind clearly for nonjudicial discretion.”82

But examination of those factors shows that they do not necessarily apply in this case.




80
     Lane, 529 F.3d at 559-60.
81
     Id.
82
     Doc. 45 at 33-34; see Carr, 369 U.S. at 217; Kuwait Pearls, 853 F.3d at 178–79.



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                    a.        There is not “a textually demonstrable constitutional commitment of
                              the issue to a coordinate political department.”

           As private companies, the Defendants are “not part of a coordinate branch of the federal

government.”83 The Defendants, therefore, face a “double burden.”84 The Defendants must first

“demonstrate that the claims against it will require reexamination of a decision by the

military.”85 Then, it must demonstrate that “the military decision at issue” is “insulated from

judicial review.”86

           The Fifth Circuit has held that the political-question doctrine does not apply if the

plaintiffs have “presented a plausible set of facts” that “might allow causation to be proven under

one tort doctrine without questioning the Army’s role.”87 A key issue is whether the plaintiffs

are challenging the “military’s ultimate decision” or whether they are “challenging the way in

which [the government contractor] performed the duties it was given by the military.”88 The

political-question doctrine does not bar the suit if the defendants cannot show that resolving the

plaintiffs’ claims “will require reexamination of any decision made by the U.S. military.”89

           As explained in more detail below, the military’s decisions will not have to be

reexamined by the Court or jury because—even if the military were negligent—those decisions

were not a proximate cause of the bombing.90



83
     Lane, 529 F.3d at 560.
84
     Id.
85
  Id.; see also McManaway, 852 F.3d at 451 (Defendants “must show that the claims will require reexamination of
a military decision that is insulated from judicial review.”).
86
     Lane, 529 F.3d at 560; see also McManaway, 852 F.3d at 451.
87
     Lane, 529 F.3d at 562.
88
     McMahon v. Presidential Airways, Inc., 502 F.3d 1331, 1361 (11th Cir. 2007).
89
     Id.
90
     See § II(B)(2) below.



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                    b.        There is not “a lack of judicially discoverable and manageable
                              standards for resolving it.”

           The Fifth Circuit has held that “legal questions that may be resolved by the application of

traditional tort standards” are “plainly discoverable and manageable by the judiciary.”91 As the

Fifth Circuit recognized when rejecting a political-question claim by a government contractor,

the “standards for judging at least the assertions of civilian employers that cause injury to their

employees are readily available.”92

           The Plaintiffs’ claims are based on the Defendants’ failure to supervise Nayeb at his

workplace and to make sure he left the base when his shift was over. Those can be resolved by

the application of traditional tort standards” that are “plainly discoverable and manageable by the

judiciary.”93 The Defendants, therefore, have not carried their burden of establishing that there is

a lack of judicially discoverable and manageable standards for resolving this case.

                    c.        It is possible to decide this case “without an initial policy
                              determination of a kind clearly for nonjudicial discretion.”

           Federal courts have held that a case cannot be decided “without an initial policy

determination of a kind clearly for nonjudicial discretion” when the court must “substitute its

judgment for that of the military on the issue of whether adequate force protection measures

were in place.”94 The Plaintiffs are not challenging the military’s “force protection measures.”

Instead, the Plaintiffs are arguing that the Defendants failed to comply with their contractual duty

to properly supervise Nayeb. The Plaintiffs have no disagreement with the military in this case.




91
     McManaway, 852 F.3d at 451.
92
     Lane, 529 F.3d at 563.
93
     McManaway, 852 F.3d at 451.
94
     Smith v. Halliburton Co., CIV.A. H-06-0462, 2006 WL 2521326, at *6 (S.D. Tex. Aug. 30, 2006); Doc. 45 at 74.



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            The Defendants argue that their defense will require the military’s decisions to be

considered, but—as explained below—that is not the case because the military’s decisions are

not a legal cause of the explosion.95

            2.        The military’s liability will not have to be considered because it was not a
                      legal cause of the bombing—instead, at most it merely furnished a condition
                      that allowed the bombing, which is insufficient under Texas law.

            The Defendants have alleged that the United States military is a responsible third party

under Texas law whose negligence must be considered.96 The Defendants contend that because

this Court must weigh the military’s negligence, there is necessarily a political question.97 But

while the Defendants have made that allegation, they have not carried their burden of

establishing that the military’s negligence will have to be considered.

            The Fifth Circuit has held that the political-question doctrine does not apply if the

plaintiffs have “presented a plausible set of facts” that “might allow causation to be proven under

one tort doctrine without questioning the Army’s role.”98 A key issue is whether the plaintiffs

are challenging the “military’s ultimate decision” or whether they are “challenging the way in

which [the government contractor] performed the duties it was given by the military.”99 The

political-question doctrine does not bar the suit if the defendants cannot show that resolving the

plaintiffs’ claims “will require reexamination of any decision made by the U.S. military.”100 The

political-question doctrine does not apply when, “viewing the facts in the light most favorable to



95
     See § II(B)(2) below.
96
     Doc. 20 (filed Aug. 19, 2019); Doc. 45 at 77.
97
     Doc. 45 at 25.
98
     Lane, 529 F.3d at 562.
99
     McMahon, 502 F.3d at 1361.
100
      Id.



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the plaintiffs, the plaintiffs’ claims only required the court to analyze [the defendants’] actions,”

because those can “examined by a federal court without violating the Constitution’s separation of

powers.”101

           Courts must consider how cases will be actually tried when determining if there is a

political question requiring dismissal.102 When that is taken into account, it becomes clear that

the military’s responsibility will not have to be considered by the jury.

           Texas law allows defendants to designate other people or entities as responsible third

parties.103 But the jury is not allowed to consider those third parties’ responsibility unless the

defendant can provide legally sufficient evidence that the third party was negligent and that the

third party’s negligence proximately caused the injury.104 In addition, after discovery has been

conducted, a plaintiff can move to strike the designation of a responsible third party if there is no

evidence that the third party is legally responsible for the injury.105

           Because the military’s negligence, if it were negligent, would be too remote to be

considered a proximate cause under Texas law, it will not have to be considered by the jury.

Instead, Texas law makes clear that the military’s negligence—if any—would not be a proximate




101
      McManaway, 852 F.3d at 451 (quoting Lane, 529 F.3d at 560).
102
  Lane, 529 F.3d at 565 (“we must analyze appellant’s claim as it would be tried, to determine whether a political
question will emerge”) (internal quotation omitted).
103
      TEX. CIV. PRAC. & REM. CODE § 33.004.
104
   TEX. CIV. PRAC. & REM. CODE § 33.003(b) (“This section does not allow a submission to the jury of a question
regarding conduct by any person without sufficient evidence to support the submission.”).
105
   TEX. CIV. PRAC. & REM. CODE § 33.004(l) (“After adequate time for discovery, a party may move to strike the
designation of a responsible third party on the ground that there is no evidence that the designated person is
responsible for any portion of the claimant’s alleged injury or damage. The court shall grant the motion to strike
unless a defendant produces sufficient evidence to raise a genuine issue of fact regarding the designated person’s
responsibility for the claimant’s injury or damage.”).

                                                         18
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cause of the explosion. Instead, at most the military created a condition that allowed the

Defendants’ negligence to cause the injury.

            The fact that the military required former Taliban like Nayeb to be employed on the base

at most created the condition that allowed the Defendants’ negligence in properly supervising

him on the morning of November 12, 2016, to be a proximate cause of the explosion. But the

military’s negligence, if any, was too remote to be considered a legal cause under Texas law.

Three Texas Supreme Court cases make clear that the military’s negligence, if any, was too

remote to be considered a proximate cause of the bombing under Texas law.

            In Lear Siegler v. Perez, the plaintiff was a Texas Highway Department employee pulling

a flashing arrow sign behind a sweeping operation to warn drivers of ongoing highway

maintenance.106 The plaintiff stopped his truck when the sign malfunctioned, and was injured

and later died when a van struck the sign, which in turn hit the plaintiff.107 The plaintiff’s heirs

claimed the defendant manufactured a defective sign that proximately caused the accident.108

The Texas Supreme Court determined, as a matter of law, that the circumstances of the accident

were too remotely connected with the defendant’s conduct to constitute the proximate cause of

the plaintiff’s death.109 While acknowledging that a defendant’s negligence may expose another

to an increased risk of harm by placing him in a particular place at a given time, the Texas




106
      Lear Siegler v. Perez, 819 S.W.2d 470, 471 (Tex. 1991).
107
      Id.
108
      Id.
109
      Id. at 472.



                                                          19
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Supreme Court concluded that the “happenstance of place and time” may be too attenuated for

liability to be imposed under the common law.110

            The Texas Supreme Court has made clear that a defendant’s action is not a proximate

cause if it merely creates a condition after which an accident occurs. In IHS Cedars Treatment

Center of DeSoto, Texas, Inc. v. Mason, the plaintiff was a patient at a mental hospital.111

During her stay, she became friends with her roommate. On the same day, the plaintiff and her

roommate requested to be released, and the plaintiff told a nurse she planned to spend time with

her roommate after her release.112 Their physicians released them the same day without

consulting with one another. The next day, the plaintiff was riding in a car driven by her

roommate when her roommate had a psychotic episode, drove at a high speed, swerved to avoid

a dog in the road, lost control of the car, and crashed.113 The plaintiff sued her healthcare

providers for negligence.114 She argued her that uncorrected mental condition left her vulnerable

to her roommate’s manipulative and controlling behavior and caused them to be in the car

together. The Texas Supreme Court concluded that negligence may have allowed the plaintiff to

be in the car with her roommate, but it did not cause her roommate to experience a psychotic

episode, drive wildly, or crash the car.115 The defendants’ negligence, if any, merely created a

condition in which the accident occurred, but it did not cause the accident or injuries.116




110
      Id.
111
      IHS Cedars Treatment Center of DeSoto, Texas, Inc. v. Mason, 143 S.W.3d 794, 796 (Tex. 2004).
112
      Id. at 796–97.
113
      Id. at 797.
114
      Id.
115
      Id. at 801–02.
116
      Id.



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            The Texas Supreme Court has also made clear that an initial act of negligence that is not

an active and efficient cause of the harm and injuries is not a proximate cause. In Bell v.

Campbell, three individuals were hit by a car while removing debris from an earlier accident.117

Two were killed, and the third suffered serious injuries.118 The Texas Supreme Court held that

the initial accident was not the proximate cause of the deaths and injuries because it merely

created the condition that attracted the three men to the scene, and did not actively contribute to

the injuries resulting from the second accident.119 Where an initial action, even if negligent, is

not an active and efficient cause of a plaintiff’s injury, but merely creates a condition by which a

second act of negligence occurs, the resulting harm is too attenuated from the defendants’

conduct to constitute the cause in fact of the plaintiffs’ injuries.120

            Therefore, because the Defendants have not established that under “all plausible sets of

facts that could be proven,” the military’s negligence would have to be considered by the jury,

they have not established that this case necessarily contains a nonjusticiable political question.121

This Court, therefore, should deny the Defendants’ motion to dismiss based on the political-

question doctrine.

            III.    Response to Summary Judgment Motion Based on 28 U.S.C. § 2680(j)

            In addition to their motion to dismiss based on the political-question doctrine, the

Defendants filed a summary-judgment motion based on combatant-activities preemption under




117
      Bell v. Campbell, 434 S.W.2d 117, 118 (Tex. 1968).
118
      Id.
119
      Id. at 122.
120
      Id.
121
      Lane, 529 F.3d at 559-60.



                                                           21
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28 U.S.C. § 2680(j).122 This Court should deny the Defendants’ summary-judgment motion

based on combatant-activities preemption under 28 U.S.C. § 2680(j) because:

                   The Fifth Circuit has never recognized that combatant-activities
                    preemption under 28 U.S.C. § 2680(j) applies to claims against
                    government contractors;

                   Combatant-activities preemption under 28 U.S.C. § 2680(j) is an
                    affirmative defense that the Defendants have not pled;

                   Even if combatant-activities preemption under 28 U.S.C. § 2680(j)
                    applies to claims against government contractors, it should be limited
                    to procurement contracts and not apply to service contracts like the
                    one here;

                   The Defendants have not conclusively established that the Plaintiffs’
                    claims arise out of “combatant activities” “during time of war”; and

                   The Plaintiffs are entitled to discovery on the merits before they are
                    required to respond to the Defendants’ summary-judgment motion.

A.         The Fifth Circuit has never recognized that combatant-activities preemption under
           28 U.S.C. § 2680(j) applies to claims against government contractors.

           The Defendants argue that the Plaintiffs’ claims are barred by 28 U.S.C. § 2680(j), which

they contend creates a so-called “combatant-activities preemption” that bars suits against

government contractors that arise out of the combatant activities of military forces during time of

war.123 Combatant-activities preemption is an attempt by government contractors to take

advantage of an exception to the Federal Tort Claims Act.124 There is no federal statute that




122
   Doc. 45 at 88-91; 28 U.S.C. § 2680(j) (“The provisions of this chapter and section 1346(b) of this title shall not
apply to— … (j) Any claim arising out of the combatant activities of the military or naval forces, or the Coast
Guard, during time of war.”).
123
      Doc. 45 at 88-91.
124
      Martin v. Halliburton, 618 F.3d 476, 486 (5th Cir. 2010).



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states that claims against government contractors are preempted or otherwise barred if they arise

out of the combatant activities of military forces during time of war.125

            The Federal Tort Claims Act is a waiver of sovereign immunity for certain tort claims

against the government.126 The Federal Tort Claims Act contains certain exceptions where

sovereign immunity is not waived.127 One of those exceptions is contained at 28 U.S.C. §

2680(j), which provides that the Federal Tort Claims Act waiver of sovereign immunity does not

apply to any “claim arising out of the combatant activities of the military or naval forces, or the

Coast Guard, during time of war.”128

            Government contractors are private entities that do not have sovereign immunity, so the

Federal Tort Claims Act does not apply to claims against them.129 But some circuits have held

that the Federal Tort Claims Act’s combatant-activities exception in 28 U.S.C. § 2680(j) should

be extended to shield government contractors from liability.130 Those circuits have held that the

Federal Tort Claims Act’s combatant-activities exception in 28 U.S.C. § 2680(j) acts to preempt

claims against government contractors for claims arising out of combatant activities during times




125
      Id.
126
   28 U.S.C. § 2674; Quijano v. United States, 325 F.3d 564, 567 (5th Cir. 2003) (“The FTCA authorizes civil
actions for damages against the United States for personal injury or death caused by the negligence of a government
employee under circumstances in which a private person would be liable under the law of the state in which the
negligent act or omission occurred.”).
127
      28 U.S.C. § 2680.
128
      Id.; Arnold v. United States, 140 F.3d 1037 (5th Cir. 1998) (unpublished).
129
   Martin, 618 F.3d at 486 (The Federal Tort Claims Act’s combatant-activities exception “does not apply directly
to government contractors”); Koohi v. United States, 976 F.2d 1328, 1336–37 (9th Cir. 1992) (“The plaintiffs’ action
against the [government contractor] is not barred by sovereign immunity. Private parties are not entitled to such a
defense.”).
130
      See, e.g., Saleh v. Titan Corp., 580 F.3d 1, 7 (D.C. Cir. 2009); Koohi, 976 F.2d at 1336–37.



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of war.131 That extension to government contractors is knows as combatant-activities

preemption.

            The Fifth Circuit has not recognized combatant-activities preemption as a valid legal

theory.132 This Court should not go beyond established Fifth Circuit precedent, so it should

decline to recognize combatant-activities preemption. This Court can deny the summary-

judgment motion based on combatant-activities preemption under 28 U.S.C. § 2680(j) on this

basis alone.

B.          Combatant-activities preemption under 28 U.S.C. § 2680(j) is an affirmative defense
            that the Defendants have not pled.

            Even if this Court were to recognize the doctrine of combatant-activities preemption, it

should deny the Defendants’ summary-judgment motion based on that theory because it is an

affirmative defense they did not plead.

            While the Fifth Circuit has not recognized combatant-activities preemption under 28

U.S.C. § 2680(j), it has held that the doctrine is an affirmative defense.133 All of the Defendants

have filed answers, but none raised combatant-activities preemption under 28 U.S.C. § 2680(j) as

an affirmative defense.134




131
      Id., 580 F.3d at 7; Koohi
132
   McManaway, 852 F.3d at 447 (“KBR also argues that this court should extend the Federal Tort Claims Act’s
combatant-activities exception to shield government contractors from liability when they are involved in activities
connected to the military’s strategic objectives.… [W]e do not reach KBR’s preemption argument.”); see also
Brokaw v. Boeing Co., 137 F. Supp. 3d 1082, 1105 (N.D. Ill. 2015) (“There is some conflict in the law as to whether
the combatant activities doctrine can ever apply to a private contractor.”).
133
      McManaway, 852 F.3d at 447.
134
      Doc. 1-3 at 90-120 (filed June 19, 2019); Doc. 3 (filed June 26, 2019).



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           The Fifth Circuit has held that a defendant that has failed to plead an affirmative defense

in its answer cannot move for summary judgment based on that non-pled affirmative defense.135

This Court, therefore, should deny the Defendants’ summary-judgment motion based on the

affirmative defense of combatant-activities preemption under 28 U.S.C. § 2680(j) because they

have not pled that affirmative defense.

           This Court can deny the summary-judgment motion based on combatant-activities

preemption under 28 U.S.C. § 2680(j) on this basis alone.

C.         Even if combatant-activities preemption under 28 U.S.C. § 2680(j) applies to claims
           against government contractors, it should be limited to procurement contracts and
           not apply to claims brought by United States citizens supporting the United States
           military.

           The courts that have recognized combatant-activities preemption apply it in different

ways. Some courts limit it to government contractors supplying military equipment to the

military, so government contractors providing services do not fall under combatant-activities

preemption.136 That is because the government provides great detail regarding supplies it is

purchasing, while service contracts contain much more discretion.137 The contract the




135
   United States v. Burzynski Cancer Research Inst., 819 F.2d 1301, 1307 (5th Cir. 1987) (“An affirmative defense
may be raised on a motion for summary judgment only if that motion is the first pleading responsive to the
substance of the allegations.”).
136
      See, e.g., Fisher v. Halliburton, 390 F. Supp. 2d 610, 615–16 (S.D. Tex. 2005); Smith, 2006 WL 1342823, at *5.
137
    Fisher, 390 F. Supp. 2d 616 (“claims involving complex equipment acquired by the Government in its
procurement process, which inevitably implicates nuanced discretion and sophisticated judgments by military
experts. Plaintiffs’ claims in this case do not involve any allegation that Defendants supplied equipment, defective
or otherwise, to the United States military. The Court concludes that extension of the government contractor
defense beyond its current boundaries is unwarranted and the FTCA does not bar Plaintiffs’ claims.”) (internal
citation omitted).



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Defendants were operating under was a service contract—not a procurement contract—so

combatant-activities preemption under 28 U.S.C. § 2680(j) should not apply here.138

           Some courts also limit combatant-activities preemption to claims brought by perceived

enemies during combat.139 Those courts do not bar claims brought by United States citizens

against private corporations.140

           Federal courts have expressed concern that the “combatant activities exception, cut loose

from its rationale, threatens to metamorphose into a near-absolute immunity for contractors.”141

Therefore, if this Court were to recognize the doctrine of combatant-activities preemption under

28 U.S.C. § 2680(j), it should limit it to procurement contracts and not include claims by United

States citizens supporting the United States military. This Court can deny the summary-

judgment motion based on combatant-activities preemption under 28 U.S.C. § 2680(j) on this

basis alone.




138
   Doc. 45 at 16 (“Fluor provided base operations support to the U.S. Military at BAF. Fluor provided a range of
civil services required by any sizable population center.”) (citation omitted).
139
    Koohi, 976 F.2d at 1336–37 (Applying combatant-activities preemption under 28 U.S.C. § 2680(j) to claims by
passengers on the Iranian Airbus shot down by the U.S.S. Vincennes because “one purpose of the combatant
activities exception is to recognize that during wartime encounters no duty of reasonable care is owed to those
against whom force is directed as a result of authorized military action”); Lessin v. Kellogg Brown & Root, CIVA H-
05-01853, 2006 WL 3940556, at *3–5 (S.D. Tex. June 12, 2006) ([I]n Koohi, the court was also concerned with the
lack of any duty of reasonable care owed to a perceived enemy during combat. This case, on the contrary, concerns
the duty of care owed by a private corporation to United States citizens, and the concern noted by the court in Koohi
is inapplicable to this case.”); Smith, 2006 WL 1342823, at *5 (“Koohi involved action by the United States military
against a perceived enemy.… [T]he plaintiffs in Koohi were not United States citizens but ‘perceived enemy’
mistakenly targeted by the United States military.”).
140
      See Lessin, 2006 WL 3940556, at *4; Smith, 2006 WL 1342823, at *5.
141
      McMahon v. Gen. Dynamics Corp., 933 F. Supp. 2d 682, 693–94 (D.N.J. 2013).



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D.          The Defendants have not conclusively established that the Plaintiffs’ claims arise out
            of “combatant activities” “during time of war.”

            This Court should deny the Defendants’ summary-judgment motion based on combatant-

activities preemption under 28 U.S.C. § 2680(j) even if it accepts the doctrine because they have

not conclusively established the elements of their affirmative defense. A defendant moving for

summary judgment on an affirmative defense must conclusively establish each element of the

affirmative defense.142

            At a minimum, the Defendants must conclusively establish that the Plaintiffs’ claims

arose out of “combatant activities” “during time of war.”143 Because the Defendants have not

met that burden, this Court can deny the summary-judgment motion based on combatant-

activities preemption under 28 U.S.C. § 2680(j) on this basis alone.

            1.       The Defendants have not conclusively established that they were engaged in
                     “combatant activities.”

            Even the courts that have recognized combatant-activities preemption for government

contractors have limited it to those cases truly arising out of “combatant activities.”144 As federal

courts have noted, “[a]iding others to swing the sword of battle is certainly a ‘combatant

activity,’ but the act of returning it to a place of safekeeping after all of the fighting is over

cannot logically be cataloged as a ‘combat activity.’”145




142
       McKinney/Pearl Rest. Partners, L.P. v. Metro. Life Ins. Co., 241 F. Supp. 3d 737, 769 (N.D. Tex. 2017) (Boyle,
J.).
143
   Doc. 45 at 88-91; 28 U.S.C. § 2680(j) (“The provisions of this chapter and section 1346(b) of this title shall not
apply to— … (j) Any claim arising out of the combatant activities of the military or naval forces, or the Coast
Guard, during time of war.”).
144
       28 U.S.C. § 2680(j).
145
  Johnson v. United States, 170 F.2d 767, 770 (9th Cir. 1948); McManaway v. KBR, Inc., 906 F. Supp. 2d 654,
665–66 (S.D. Tex. 2012); Brokaw v. Boeing Co., 137 F. Supp. 3d 1082, 1105 (N.D. Ill. 2015).



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             In its motion, Fluor states that it performed “civil services” at the base, including “pest

control services, laundry services, food service operations, and motor pool operations.”146 That

is not aiding those who swing the sword of battle. It is not even returning the sword of battle to a

place of safekeeping after all of the fighting is over.

             Nayeb worked in the nontactical vehicle yard.147 The Defendants have not conclusively

established that their work aided others to swing the sword of battle sufficient to make the

Plaintiffs’ claims arise out of “combatant activities.”

             2.        The Defendants have not conclusively established that Nayeb’s actions took
                       place “during time of war.”

             Combatant-activities preemption applies only to injuries arising “during time of war.”148

The Fifth Circuit has recognized that can apply “even in the absence of a formal declaration of

war.”149 It has held that the First Gulf War in 1991 was a “time of war” “when the United States

armed forces marched into Kuwait and then Iraq.”150

             The Defendants have not conclusively established that actions in November 2016 in

Afghanistan qualified as a “time of war.” The Defendants do not offer any evidence that this

was a “time of war.”151 Instead, they cite to a 1992 case saying that the First Gulf War in 1991




146
      Doc. 45 at 16.
147
      Id. at 9.
148
  28 U.S.C. § 2680(j) (“Any claim arising out of the combatant activities of the military or naval forces, or the
Coast Guard, during time of war.”).
149
      Arnold, 140 F.3d 1037, at *2.
150
      Id. (citing Koohi, 976 F.2d at 1333-34).
151
      Doc. 45 at 88-91.



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was a “time of war” and a 2014 case applying combatant-activities preemption under 28 U.S.C. §

2680(j) to actions in Afghanistan in the early 2000s.152

            While the invasion of Kuwait in 1991 and military actions in Afghanistan in the early

2000s may have been times of war, that does not mean that Afghanistan in November 2016 was

a “time of war.” And it is certainly not conclusive evidence of that fact.

            As the Captain of the USS Theodore Roosevelt emphasized recently, the United States is

not currently “at war.”153 The Defendants have not carried their burden of conclusively

establishing that the United States was still at war in Afghanistan in November 2016, so their

summary-judgment motion should be denied.

E.          The Plaintiffs are entitled to discovery on the merits before they are required to
            respond to the Defendants’ summary-judgment motion.

            Even if this Court were to find merit in the Defendants’ summary-judgment motion, it

should allow the Plaintiffs to conduct discovery before ruling on the motion. This case is at the

initial stages and the Plaintiffs have been allowed only limited jurisdictional discovery.154 The

Defendants limited the depositions to that issue, objecting to questions they thought were even

“pretty close to exceeding jurisdictional discovery.”155

            This Court, therefore, should allow the Plaintiffs to conduct discovery before it were to

grant the Defendants’ summary-judgment motion based on combatant-activities preemption

under 28 U.S.C. § 2680(j).



152
  Doc. 45 at 88-91 (citing Koohi, 976 F.2d at 1335; In re KBR, Inc. Burn Pit Litig., 744 F.3d 326, 346-51 (4th Cir.
2014)).
153
   https://news.usni.org/2020/03/31/carrier-roosevelt-co-asks-navy-to-quarantine-entire-crew-ashore-as-covid-19-
outbreak-accelerates (“However, we are not at war, and therefore cannot allow a single Sailor to perish as a result of
this pandemic unnecessarily”).
154
      Doc. 38 (Nov. 27, 2019) (allowing jurisdictional discovery).
155
      Ex. B at 90.

                                                           29
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                                       IV.    Conclusion

       This Court should deny the Defendants’ Rule 12(b)(1) motion to dismiss for lack of

subject-matter jurisdiction under the political-question doctrine and the Defendants’ Rule 56

motion for summary judgment based on combatant-activities preemption under 28 U.S.C. §

2680(j).

                                                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on May 29, 2020, I served a true and correct copy of the
foregoing on counsel of record through the Court’s CM/ECF system under Local Rule 42.1 and
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